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                         UNITED STATES COURT OF APPEALS                        FILED
                                FOR THE NINTH CIRCUIT                           MAR 26 2020
                                                                           MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS
  JERALD FRIEDMAN, Individually and on               No.    19-56386
  Behalf of All Others Similarly Situated;
  CAROL MCGEE,                                       D.C. No. 2:14-cv-00034-DDP-PLA
                                                     Central District of California,
                     Plaintiffs-Appellants,          Los Angeles

    v.                                               ORDER

  AARP, INC.; et al.,

                     Defendants-Appellees.

           Appellants’ unopposed motion (Docket Entry No. 10) for voluntary

  dismissal is granted. This appeal is dismissed with prejudice. See Fed. R. App. P.

  42(b).

           This order served on the district court shall act as and for the mandate of this

  court.


                                                      FOR THE COURT:

                                                      MOLLY C. DWYER
                                                      CLERK OF COURT


                                                      By: Linda K. King
                                                      Deputy Clerk
                                                      Ninth Circuit Rule 27-7




  LK/Pro Mo
